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                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TENNESSEE
                                       Western Division
                                      Office of the Clerk

Wendy R. Oliver, Clerk                                                               Deputy-in-Charge
242 Federal Building                                                        U.S. Courthouse, Room 262
167 N. Main Street                                                          111 South Highland Avenue
Memphis, Tennessee 38103                                                      Jackson, Tennessee 38301
(901) 495-1200                                                                          (731) 421-9200


                                      NOTICE OF SETTING
                  Before Chief Judge Sheryl H. Lipman, United States District Judge


                                            July 11, 2025


            RE:    2:23-cv-02224-SHL
                   RowVaughn Wells & Chasity Grace Sharp (Guardian Ad Litem) v. City of
                   Memphis, et al.

            Dear Sir/Madam:

            A STATUS CONFERENCE has been SET before Chief Judge Sheryl H. Lipman for
     WEDNESDAY, JULY 23, 2025 at 1:30 P.M. in Courtroom No. 1, 11th floor of the Federal
     Building, Memphis, Tennessee.

            Counsel should be prepared to discuss all pending motions.

            If you have any questions, please contact the case manager at the telephone number or
     email address provided below.

                                        Sincerely,
                                        WENDY R. OLIVER, CLERK
                                        BY: s/Joseph P. Warren,
                                               Case Manager Supervisor
                                               901-495-1242
                                               joseph_warren@tnwd.uscourts.gov
